Case 6:25-cv-00189-AM   Document 1-2   Filed 05/07/25   Page 1 of 21




            EXHIBIT 1
         Case 6:25-cv-00189-AM                         Document 1-2                     Filed 05/07/25                    Page 2 of 21
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                                                                                                     US008284214B2


c12)   United States Patent                                                     (IO) Patent No.:                       US 8,284,214 B2
       Gilbert                                                                  (45) Date of Patent:                              *Oct. 9, 2012

(54)    ROTATIONAL DISPLAY SYSTEM                                                5,057,827 A    10/1991 Nobile et al.
                                                                                 6,037,876 A * 3/2000 Crouch .................... 340/815.53
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(76)    Inventor:    Mark Gilbert, Tuscaloosa, AL (US)
                                                                                 6,492,963 Bl   12/2002 Hoch
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(*)     Notice:      Subject to any disclaimer, the term ofthis                  6,856,303 B2    2/2005 Kowalewski
                     patent is extended or adjusted under 35                     7,046,131 B2 * 5/2006 Todorox ........................ 340/444
                     U.S.C. 154(b) by 896 days.                                  7,079,042 B2    7/2006 Reim
                                                                                 7,161,256 B2 * 1/2007 Fang                                290/1 R
                     This patent is subject to a terminal dis-                   7,271,813 B2    9/2007 Gilbert
                     claimer.                                                    7,417,555 B2 * 8/2008 Chivarov et al. ......... 340/815.45
                                                                                 7,477,208 B2 * 1/2009 Matlock et al. ................. 345/31
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(21)    Appl. No.: 11/840,335                                                2004/0102223 Al     5/2004 Lo et al.
                                                                             2004/0105256 Al     6/2004 Jones
(22)    Filed:       Aug. 17, 2007
                                                                                                  OTHER PUBLICATIONS
(65)                    Prior Publication Data
                                                                            BIGWHEELS.net-DUB Pimpstar [online] [retrieved on Feb. 22,
        US 2008/0068297 Al            Mar. 20, 2008                         2007] http://www.bigwheelss.net/promotion/pimpstar.htrnl.

                  Related U.S. Application Data                             * cited by examiner
(63)    Continuation of application No. 11/187,625, filed on
        Jul. 21, 2005, now Pat. No. 7,271,813.                              Primary Examiner - M Good Johnson
                                                                            (74) Attorney, Agent, or Firm - McHale & Slavin, P.A.
(60)    Provisional application No. 60/589,651, filed on Jul.
        21, 2004.
                                                                            (57)                          ABSTRACT
(51)    Int. Cl.                                                            The present invention provides a system which integrates
        G09G 5100                      (2006.01)
                                                                            unique lighting technologies, switching systems, mounting
(52)    U.S. Cl. ......................... 345/619; 345/649; 345/652        systems, information delivery systems and power supply sys-
(58)    Field of Classification Search .................. 345/619,          tems within a vehicular wheel to provide an advanced, high
                                                         345/39, 396        quality visual display apparatus. These technologies, and
        See application file for complete search history.                   their many unique applications, provide for a novel and useful
                                                                            series of video display devices that are small, lightweight,
(56)                    References Cited                                    efficient and have the capability of producing a clear, bright,
                                                                            high definition image that is equivalent to that of a modem
                  U.S. PATENT DOCUMENTS
                                                                            day TV or high quality computer monitor.
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       4,631,848 A      12/1986 Iwasa et al.                                                  15 Claims, 11 Drawing Sheets



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   Case 6:25-cv-00189-AM   Document 1-2     Filed 05/07/25    Page 3 of 21


U.S. Patent       Oct. 9, 2012     Sheet 1 of 11             US 8,284,214 B2




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                                 FIGURE 1
     Case 6:25-cv-00189-AM    Document 1-2       Filed 05/07/25   Page 4 of 21


                                      Sheet 2 of ll           US 8,284,214 B2
U.S. Patent        Oct. 9, 2012




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                                  FIGURE 2
   Case 6:25-cv-00189-AM   Document 1-2      Filed 05/07/25    Page 5 of 21


U.S. Patent       Oct. 9, 2012      Sheet 3 of 11             US 8,284,214 B2




      18




    22




                                 FIGURE 3
    Case 6:25-cv-00189-AM    Document 1-2    Filed 05/07/25    Page 6 of 21


U.S. Patent        Oct. 9, 2012    Sheet 4 of 11              US 8,284,214 B2




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                         FIGURE 4
   Case 6:25-cv-00189-AM            Document 1-2    Filed 05/07/25    Page 7 of 21


U.S. Patent              Oct. 9, 2012      Sheet 5 of 11             US 8,284,214 B2




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         COMPUTER




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         BATTERY
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                                        FIGURE 5
   Case 6:25-cv-00189-AM     Document 1-2          Filed 05/07/25   Page 8 of 21


U.S. Patent         Oct. 9, 2012       Sheet 6 of 11                US 8,284,214 B2




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                                   FIGURE 6
       Case 6:25-cv-00189-AM    Document 1-2      Filed 05/07/25   Page 9 of 21

                                                             US 8,284,214 B2
                                  Sheet 7 of 11
                 Oct. 9, 2012
U.S. Patent


                                                          38


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                                FIGURE 7
    Case 6:25-cv-00189-AM                     Document 1-2    Filed 05/07/25     Page 10 of 21


                                                    Sheet 8 of 11              US 8,284,214 B2
U.S. Patent                        Oct. 9, 2012




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      Case 6:25-cv-00189-AM                          Document 1-2       Filed 05/07/25    Page 11 of 21

                                                                                   US 8,284,214 B2
                                                        Sheet 9 of 11
                                     Oct. 9, 2012
U.S. Patent




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                                                         FIGURE 9
   Case 6:25-cv-00189-AM    Document 1-2   Filed 05/07/25   Page 12 of 21


U.S. Patent        Oct. 9, 2012    Sheet 10 of 11           US 8,284,214 B2




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   28                      --------


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                           FIGURE 10
   Case 6:25-cv-00189-AM   Document 1-2    Filed 05/07/25    Page 13 of 21


U.S. Patent       Oct. 9, 2012    Sheet 11 of 11            US 8,284,214 B2




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       Case 6:25-cv-00189-AM                      Document 1-2                Filed 05/07/25             Page 14 of 21


                                                      US 8,284,214 B2
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           ROTATIONAL DISPLAY SYSTEM                                system was used to reproduce the image that had been
                                                                    scanned. By rapidly switching a series oflights aligned with
            CROSS-REFERENCE TO RELATED                              the holes in the rotating disk, synchronized illumination
                        APPLICATIONS                                passed through holes tracing an image with many concentric
                                                                 5 circles oflight.
   This application is a continuation of U.S. patent applica-          Similar systems that followed Nipkow's original designs
tion Ser. No. 11/187,625, filed on Jul. 21, 2005, now U.S. Pat.     include developments by J. L. Baird in England and F. Jenkins
No. 7,271,813 which claims priority under 35 USC 119(e)to           in the United States, both of whom successfully demonstrated
the Provisional Patent Application, 60/589,651, filed Jul. 21,      television systems using scanning disks in 1926. Such sys-
2004, the contents of which are herein incorporated by refer- 10 terns produced 60 to 100 scarmed lines to provide recogniz-
ence.                                                               able black and white images that were high quality by 1926
                                                                    standards.
                 FIELD OF THE INVENTION                                Research and development of video display systems that
                                                                    employed rotating mechanical scanning came to a stop after
   This invention relates generally to automotive lighting sys- 15 the nearly simultaneous invention of electronic scarming sys-
tems. More specifically, the present invention relates to the       tems by Philo T. Farnsworth in 1927 and by Vladimir K.
display of visual images and/or display of visual information       Zworykin in 1928. Both the Farnsworth and the Zworykin
such as pictures, text and full motion video sequences on the       systems of the mid and late 1920's scarmed an electron beam
rotating wheels of a vehicle.                                       back and forth across the inside of a glass cathode ray tube,
                                                                 20 striking a phosphorescent surface plane, causing images to
           BACKGROUND OF THE INVENTION                              appear on a glass picture tube. The electronic scanning pic-
                                                                    ture tube designs developed by both inventors became the
   Numerous systems for producing visual images and dis-            foundations for the cathode ray tube that was further per-
playing visual information such as pictures, text and full          fected and marketed in the first home television receivers.
motion video sequences were developed over a century ago. 25 Significant picture tube improvements were developed by
One such technology developed utilizes rotating assemblies          Allen B. DuMont who increased the reliability, quality and
having intermittently illuminated elements to produce text or       display size of picture tubes during the 1930's. The same
basic shapes. The rotation, combined with rapidly changing          electron scarming technology has evolved into the high qual-
illuminated segments produces a series of flashing frames           ity glass picture tubes that are still found in present day color
that blend to form a recognizable image, or series of images. 30 (picture tube type) televisions and computer monitors.
This effect is broadly known as persistence of vision and is           The aforementioned inception of electronic picture tubes
more specifically referred to as "scarming". In modern              during the late 1920's effectively signaled the end of
devices that utilize persistence of vision technology, elec-        mechanical rotating image display systems by the 1930's.
tronic information about an image to be displayed is used to        Early picture tubes were essentially sealed, low maintenance
synchronize the illumination of individual illuminating ele- 35 systems with no mechanical components. Such improve-
ments at specific positions during the rotation.                    ments rendered rotary image display systems obsolete. The
   There are generally two types of persistence of vision           illumination systems, propulsion means, synchronization cir-
displays currently known in the art; cylindrical and planar. A      cuits and power requirements of rotary mechanical visual
cylindrical display rotates an LED display in a manner that         display systems made them heavy, bulky, inefficient, unreli-
creates images in a cylindrical marmer, as if the images were 40 able and of marginal value due to low video quality when
on the side of a soda can. A planar display rotates the LEDs so     compared to cathode ray tube visual displays. Thus, cathode
that they appear in a flat disk shaped area. Within the planar      ray tubes became the industry standard by the 1930's. Con-
display, small bright illuminating elements are typically           sequently, rotational scanning technology as a means of
arranged along an elongated flat member. An axle is posi-           image display had largely been forgotten until very recently
tioned at about the mid-point of the flat member, similar to an 45 with the implementation of a few new products, and with the
airplane propeller, and a motor is provided to rotate the mem-      new technology disclosed herein. Several recent products
ber at a relatively high speed. As the flat member rotates, the     employ new uses and variations thereof based on illuminated
blur perceived by the eye makes the rotating member appear          rotational scarming display systems. Likewise, these newer
to be a flat circle. This virtual circle formed by the spinning     developments define a group of prior art that are related to the
member forms a visual image when color, brightness and 50 new and useful invention described herein.
timing of the illuminating sections on the member are prop-            One such prior art development is presented in U.S. Pub-
erly synchronized.                                                  lication No. 2004/0102223 to Lo. Lo describes a rotating
   One of the earliest examples of image producing systems          LED device that receives data by infrared transmission and
that utilized a rotating member, a series of illuminating           then displays such data by synchronizing the illumination
devices and a system of synchronizing to display an image 55 display of a row of rotating LEDs. The device is specifically
was developed and patented by Paul Gottlieb Nipkow from             embodied as both a functional and ornamental device that is
Germany. Nipkows' system of receiving and reproducing               used to display incoming telephone caller numbers as a caller
images utilized a selenium photocell and a (rotating) scan-         ID apparatus, and further displays other alpha-numeric infor-
ning disk. In order to capture an image, his early (1884)           mation such as the time, date and a few pre-programmed
system employed a scarming disk with a single row of holes 60 seasonal greetings that are stored in the unit's internal
arranged so they spiraled inward toward the center of the           memory. Since the rotating member containing the LED array
circle. The disk revolved in front of a light sensitive plate on    must synchronize the display of information as rapidly as it
which a lens formed an image. Each hole passed across, or           rotates, Lo describes a system that transmits infrared signals
"scarmed" a ring shaped portion of the image. The holes             to a rotating illuminating member, from an infrared transmit-
traced contiguous concentric circles so that in one revolution 65 ter located in the stationary base unit. This effectively sepa-
of the disk, the entire image was scarmed, converting a visible     rates the actual rotating member and LED array from its
image to a series of electrical signals. A similar rotating disk    support circuits that need not rotate in order to produce a
       Case 6:25-cv-00189-AM                       Document 1-2               Filed 05/07/25              Page 15 of 21


                                                      US 8,284,214 B2
                               3                                                                    4
visual image. The infrared system described provides a wire-          illumination systems that add to the visual interest of the
less path by which information to be displayed is beamed              windmill or similar outdoor ornament. In operation, as the
directly to a small infrared receiver that is part of the rotating    windmill turns, sets of small LEDs scan rotational patterns of
display system. This design minimizes the amount of parts             light creating an ornamental effect. While this system
that must rotate, thus minimizing rotational mass, minimizing 5 employs rotational scanning, images displayed contain little
the weight of moving parts. However, because the device               or no parameters for user selectability, and are incapable of
derives both a positional reference point and data concur-            displaying life like color images or color full motion video.
rently as a predetermined point on the rotating arm passes the           Another device which employs rotational image display is
infrared sender, the amount of data that can be transferred is        the I-Top, a small, portable device for gaming and amuse-
very limited.                                                      10 ment. The I-Top by Irwin Toys (I-Toys) is a pocket sized,
   Thus, La's device is limited to displaying alpha-numeric           battery operated spinning top with an integrated array of 8
data, caller ID information, clock settings and a series of           LEDs. Using a button switch on the I-top, a user can select
pre-determined greetings through a telephone interface. La's          from a series of pre-programmed games that are integral to
design does not disclose hardware, systems, methods or other          the unit's controller. Once the user selects a game, then spins
provisions capable of providing motion picture sequences 15 the I-Top, the toy displays scores, messages and animations
that are user selected, or supplied though an external source         through its array of LEDs that form a virtual screen while
such as a digital media system, DVD, hard drive or other data         spinning. A stable display image is accomplished by using a
storage device. Moreover, like the other existing prior art, the      built in magnetic compass that always knows the instanta-
system is monochromatic, and thus has support circuitry that          neous position of the top, and synchronizes the illumination
limits data and image display throughput to the monochro- 20 display output flashes for each LED accordingly based on
matic color output of the included display devices. Even if the       rotational position.
LED array disclosed on the device were made multi colored                Due to the compass based position sensor disposed inside
for ornamental purposes, the internal processing system is            the I-Top, the beginning point of any chain of words on the
only designed to synchronize the on/off LED array switching           I-Top is always pointing to Earth's magnetic North. Hence,
to display alpha numeric data and a few low resolution sym- 25 magnetic north is used as a reference for the LED synchro-
bols. Thus, its hardware and software cannot support stream-          nization, and to calibrate in which direction or position the
ing color video to display life like color images or color full       output text should appear.
motion video since the system is not wired and programmed                While compass based positional synchronization works
to support true color synchronized switching or related data          very well for devices which rotate in a horizontal plane, a
throughput.                                                        30 traditional compass based system will not provide adequate
   Another spinning illuminated novelty device with syn-              positional synchronization for devices which rotate in vertical
chronized light sources is described in U.S. Pat. No. 6,575,          or near vertical planes. The internal compass can become
585 to Nelson, et al. This system is essentially a small, por-        confused if the azimuth or angular orientation of its intended
table, battery operated amusement device that spins an array          operational plane is shifted to a degree at which it cannot
of lights. A small control circuit is located on the rotating 35 properly track the Earth's magnetic field. In addition, prox-
member, proximal to the light array. The control circuit con-         imity to various metals, magnetic fields, and radio frequency
tains predetermined embedded ornamental patterns that                 interference from cellular phones, vehicle electronics and
cause the light array to illuminate in a predetermined pattern,       other high frequency sources also interferes with compass
synchronous to their speed. This causes an ornamental lighted         function via direct magnetic field distortion or by subsequent
display of shapes, colors, images or text to appear, depending 40 inductive jamming of sensitive compass support circuitry.
on the predetermined pattern data integral to the control cir-        This confuses positional synchronization, and thus would
cuit. The embodiment shown uses a rotating contact system,            corrupt and distort the images output on the illuminated array,
such as a slip-ring style contact, to directly energize a control     making the device unsuitable for use in conjunction with
circuit and lights on the moving blades. This allows the sta-         vehicles and/or vehicle wheels.
tionary battery pack to directly connect its power wires to the 45       Other devices which utilize scanning technology may be
illumination system and illumination control circuit on the           found on the internet. These devices are commonly known
moving rotor.                                                         online as "propeller clocks." The name "propeller clock" is a
   Because the system described by Chernick is primarily              slang term that describes many persistence of vision displays
designed to be a very affordable children's toy, it is not            that arose as a niche hobby after Robert Blick created what is
capable of the advanced requirements necessary to display 50 presumed to be the first persistence of vision LED display that
true color synchronized switching. The control circuit                displayed a clock face. The clock was comprised of a rotating
described is primarily a low cost pre-programmed device that          LED array that spun much like an airplane propeller, thus
displays a few visual patterns of varying colors. User select-        initiating the term "propeller clock" that has become a
ability of pre-programmed patterns is not present, to keep            generic name for many similar rotationally scanned devices.
production cost low, and minimize user interface parts. 55 More specifically, most of these devices take the form of a
Therefore, upon turning the toy on, illumination patterns are         rotating array of LEDs, a motor system to power the rotation,
generated by the digital controller in a predetermined manner.        a system of delivering power to the motor and rotating LEDs,
The user does not select from predetermined groups of                 and a system to synchronously energize the LEDs, thus allow-
images or messages to be displayed. Thus, the preferred               ing the rotating array to visually display one or more desirable
embodiment shows only a simple on/off hardwired switch as 60 patterns.
the only human interface device present.                                 In general, this body of prior art addresses and solves some
   U.S. Publication No. 2004/0105256 to Jones discloses vir-          of the technical challenges that surround all rotational dis-
tual color generating windmills, decorative spinners, and             plays. These technical challenges include construction of
ornamental devices powered by solar or wind energy.                   rotating displays, selection of appropriate high brightness
Although very similar in ornamental value to the above men- 65 LEDs for monochromatic displays, proper balance and vibra-
tioned illuminating toy by Chernick, the windmills disclosed          tion control of rotating displays, methods of delivering reli-
by Jones utilize wind or solar energy to power integrated             able electrical power to the rotating portion of displays, meth-
       Case 6:25-cv-00189-AM                        Document 1-2                Filed 05/07/25              Page 16 of 21


                                                       US 8,284,214 B2
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ods and hardware for position sensing on the display, data                It is a further objective of the instant invention to provide a
delivery for displaying images on rotating arrays, program-            rotational display apparatus having the capability of produc-
mable integrated circuit (PIC) programming and related                 ing a true color images that are substantially equivalent to that
costs.                                                                 of a modern day TV or high quality computer monitor.
   While all of the prior art devices are capable of providing 5          It is yet anotherobjective of the instant invention to provide
relatively simple displays, none of the prior art devices are          a rotational display apparatus that is capable of displaying
capable of providing true color or streaming video. In addi-           both cylindrical and planar type displays in a single appara-
tion, all of the prior art devices display images directly from        tus.
their plane of rotation. That is, the devices twist the (normally         It is a still further objective of the instant invention to
                                                                    10 provide a rotational display apparatus which extends the illu-
horizontal) ground plane of the image or text around the axis
of rotation causing, text, numbers and animations to be dis-           minating elements to the center of the wheel to allow center-
                                                                       crossing of images.
played and scrolled in a circular pattern along an artificial
                                                                          Yet another objective of the instant invention is to provide
bottom line. This causes the user to read text that bends
                                                                       a rotational display apparatus in combination with a vehicular
around the circle of rotation, as opposed to across the circle of
                                                                    15 wheel capable of providing virtual headlight, tail light, brake
rotation. This design feature is common to the prior art and is        light, and directional signals.
a result of a not defining a real horizontal reference within the         Still yet another objective of the instant invention is to
actual programming code, data processes and internal feed-             provide a rotational display apparatus in combination with a
back loops that process and ultimately synchronize output              vehicular wheel capable of displaying text and images across
data to illuminate sections of a rotational display. Not defin- 20 a linear bottom line.
ing a real visual ground plane reference for display purposes,            Other objects and advantages of this invention will become
and further not correlating a visual display ground plane with         apparent from the following description taken in conjunction
the horizon or actual ground, eliminates related progranmiing          with any accompanying drawings wherein are set forth, by
complexities and internal algorithms. The non-presence of              way of illustration and example, certain embodiments of this
this feature in the prior art allows for the use of a simple, low 25 invention. Any drawings contained herein constitute a part of
cost microprocessor controllers with limited complexity.               this specification and include exemplary embodiments of the
However, the devices can be difficult to read and render the           present invention and illustrate various objects and features
possibility of full motion video displays across the entire            thereof.
virtual disk impossible.
   Still yet, the geometry of all prior planar display devices 30                     SUMMARY OF THE INVENTION
have some object or component mounted at the center of the
circle of rotation that blocks the presence of illuminating               The present invention provides a system which integrates
elements. Thus, the total display area that could potentially          unique lighting technologies, switching systems, mounting
produce an illuminated image is hindered by a "hole" or                systems, information delivery systems and power supply sys-
circular blank spot at the middle of the circle. This geometric 35 tems within a vehicular wheel to provide an advanced, high
limitation, which also applies to and is later addressed by the        quality visual display apparatus. These technologies, and
invention disclosed herein, provides another reason why text           their many unique applications, provide for a novel and useful
and images are displayed in a mamier to twist around the               series of video display devices that are small, lightweight,
center of rotation. Simply put, if the center does not have            efficient and have the capability of producing a clear, bright,
illumination hardware, any image programmed to intersect 40 high definition image that is equivalent to that of a modern
the center of the circle would not display properly.                   day TV or high quality computer monitor. Further applica-
   This same limitation also affected the quality of early scan-       tions of the disclosed technologies allow the installation of
ning image systems, like those ofNipkow and Baird. It is also          compact rotary video displays in numerous applications
of importance to mention that the aforementioned display               where rotating portions of machinery are equipped with the
systems of the late 1800s and early 1900s, in many cases, did 45 disclosed technologies to display visual images, videos and
not utilize the full optical range of their scamiing disks for this    text while rotating. The compact, energy efficient, high opti-
very reason. Instead, a dark colored shield would cover most           cal quality technology disclosed herein is relatively inexpen-
of the scamiing disk displays, and a small window cut in the           sive to mass produce and can be applied to many unusual
shield would usually frame a small area toward the outside of          locations. The primary application for rotational scanning
the disk, where linear scanning velocities were the greatest. 50 systems discussed herein is an electronically controlled dis-
Through the window, a small portion of the scanning disk was           play system disposed upon or made integral to a motor
visible, and the image or television program was synchro-              vehicle wheel with both ornamental and functional applica-
nized to appear in this window. The dark colored shield that           tions.
covered the majority of the scamiing disk essentially pre-                The system is preferably configured for connection to dis-
vented the observer from viewing areas that were optically 55 play information from a portable or stationary computing
distorted or incapable of displaying visual imagery, as was the        device that includes hardware and/or software, to provide,
axis of rotation and the areas proximal thereto.                       import, manipulate, store and selectively display visual infor-
   Further yet, the prior art does not disclose or suggest a           mation of the user's choice. Such devices may include, but
rotational display device which operates in conjunction with           should not be limited to, palm sized computing devices, por-
a motor vehicle. Nor does the prior art disclose any of the 60 table video game systems, laptop computers, cellular phones,
numerous variations and enhancements to wheel mounted                  audio systems, navigation systems, vehicle electronics,
display systems that are described herein in regards to the            mobile video systems, multi-function displays or other
present invention.                                                     devices that typically employ a visual display.
   Accordingly, it is a primary objective of the instant inven-           The computing device transfers information regarding the
tion to provide a high quality rotational display apparatus in 65 data to be displayed to a rotatable assembly which includes a
combination with a vehicular wheel to provide ornamental               controller and an illuminating assembly. The illuminating
and functional displays.                                               assembly includes a plurality of illuminating elements. The
       Case 6:25-cv-00189-AM                      Document 1-2               Filed 05/07/25             Page 17 of 21


                                                     US 8,284,214 B2
                              7                                                                    8
illuminating elements are synchronized by the controller to          component description below is a general way to explain the
light-up specific elements of the assembly at specific times         system and its' basic components. Given modem technology,
and/or positions during rotation. This causes the rotatable          many or all of the components could be combined or split in
assembly to display predetermined image( s), text, animations        many ways and thus should not be limited to the specific
or other visual information that is pre-loaded, prograrmned or 5 component descriptions included herein. The general com-
otherwise provided to the controller from the computing              ponents of the system include a computer 14, a rotatable
device.                                                              assembly 24, and a means of power delivery 20 to the rotat-
   One embodiment of the device combines multiple syn-               able assembly.
chronized illuminating assemblies that share a common axis              The computer 14 provides for storage and recall of images
of rotation, but are positioned at different angles with respect 10 which are wirelessly transferred to the rotatable assembly 24
to the axis, to provide more than one image plane or more than       which includes a controller 16 and an illuminating assembly
one angle or set of angles for light emission direction. Such an     18 (FIGS. 5-6). The computer 14 is a microprocessor type
arrangement, when synchronized to minimize interference              device that allows users to upload and store images, videos,
and separate images in a predetermined sequence, provides a          logos, text, and the like by accepting various software file
three dimensional image.                                          15 formats which may include, but should not be limited to:
   In further embodiments the instant invention may be uti-          JPEG, BMP, AVI, Quicktime and the like. The computer may
lized for use as a display system in rough service environ-          also accept popular hardware methods of transferring stored
ments such as on helicopter main blades, tail rotors, impel-         digital information which may include, but should not be
lers, turbines, machine tools or rotating components in              limited to: CDs, DVDs, various flash memory cards, USB
manufacturing systems and engines.                                20 ports, wireless connections, optical connections, IR ports and
                                                                     the like. The computer provides a high level ofuser selectivity
         BRIEF DESCRIPTION OF THE FIGURES                            and may include enhancements such as touch screens, digital
                                                                     pads, keyboards and suitable combinations thereof, all well
   FIG. 1 is a perspective view of a vehicle illustrating the        known in the art, which allow a user to select which images or
instant invention in operation upon a rotating motor vehicle 25 videos should be displayed on the rotational display system
wheel;                                                               12 during operation thereof.
   FIG. 2 is a perspective view of the vehicle shown in FIG. 1          The computer 14 electrically communicates with the rotat-
illustrating one embodiment of the instant invention utilizing       able assembly via the controller 16. The controller is prefer-
an LED illuminating assembly in conjunction with a motor             ably positioned within the rotatable assembly, illustrated
vehicle wheel;                                                    30 herein as a motor vehicle wheel 26. The controller includes
   FIG. 3 is a perspective view of a motor vehicle wheel             circuitry suitable to accept communications from the com-
illustrating one embodiment of the rotating assembly of the          puter via radio, as shown in FIG. 5 or optical transmission, as
instant invention for producing cylindrical or angular images;       shown in FIG. 6. A most preferred embodiment utilizes wire-
   FIG. 4 is a perspective view of a motor vehicle wheel             less micro transmitters and receivers, these devices are
illustrating one embodiment of the instant invention utilizing 35 readily available from Freescale Semiconductor Inc. Of Aus-
and LCD illuminating assembly;                                       tin, Tex. and include integrated circuits that can at least
   FIG. 5 is a schematic of one embodiment of the instant            receive data from the computer as may be utilized to provide
invention;                                                           two-way communication between the computer and the
   FIG. 6 is a schematic of one embodiment of the instant            receiver. The controller also includes circuitry capable of
invention;                                                        40 synchronously illuminating the illuminating elements 22 of
   FIG. 7 is a partial perspective view illustrating one means       the illuminating assembly 18, thus producing a visual output.
for delivering power to the rotatable assembly;                      The specific hardware and/or software utilized within the
   FIG. 8 is a partial perspective view illustrating one means       controller will vary based upon the type, size and quantity of
for delivering power to the rotatable assembly;                      illuminating elements, as well as the rotational speed of the
   FIG. 9 is a partial perspective view illustrating one means 45 rotatable assembly, and the complexity of text, numbers,
for delivering power to the rotatable assembly;                      images or animations to be displayed through the rotatable
   FIG. 10 is a broken partial perspective view illustrating one     assembly 18. The primary job of the controller is to receive
means for delivering power to the rotatable assembly;                information regarding the desired display from the computer
   FIG. 11 is a partial perspective view illustrating the motor      and synchronously energize individual illuminating ele-
vehicle wheel of FIG. 3 in operation.                             50 ments, clusters or pixels within the illuminating assembly 18
                                                                     to produce one or more predetermined images. In order to
     DETAILED DESCRIPTION OF THE INVENTION                           properly synchronize the illuminating elements 22 for illumi-
                                                                     nation at specific positions within the rotation of the illumi-
   While the present invention is susceptible of embodiment          nating assembly 18, the controller must know its position
in various forms, there is shown in the drawings and will 55 with respect to a predetermined point within the rotation.
hereinafter be described a presently preferred embodiment            Thus, the controller 16 includes a means of synchronization
with the understanding that the present disclosure is to be          that perceives the passing of one or more positions during
considered an exemplification of the invention and is not            rotation of the rotatable assembly 24. The simplicity, com-
intended to limit the invention to the specific embodiments          plexity or overall effectiveness of any position sensing appa-
illustrated.                                                      60 ratus within the controller may vary depending on the appli-
   Referring to FIGS. 1-10, various embodiments of the               cation. Examples of readily available position sensing
instant invention are illustrated as being incorporated into the     devices include, but should not be limited to: gyroscopes,
wheels of a motor vehicle 10. In general, the disclosed sys-         magnetic sensors, Hall Effect sensors, lasers, infrared
tems are rotational display systems 12 that display user             devices, radio-frequency devices, optical/reflective tachom-
selectable visual information such as images, text, numbers, 65 eters, laser tachometers, mechanical position (rotary) encod-
symbols, animations, videos and the like upon the wheel of a         ers, electromagnetic sensors, accelerometers, displacement
vehicle during rotation thereof. It is important to note that the    sensors and suitable combinations thereof. In addition, Pro-
       Case 6:25-cv-00189-AM                      Document 1-2                Filed 05/07/25             Page 18 of 21


                                                      US 8,284,214 B2
                               9                                                                   10
grammable Logic Control "PLC" technologies from various                Referring to FIGS. 5-10 various means of delivering power
industrial automation systems, machinery and robotics utilize       20 to the rotating assembly 24 are illustrated. Regardless of
numerous varieties of advanced, miniature, rugged, program-         the specific construction of the controller, position sensors,
mable position sensing systems. These PLC position sensing          illuminating assemblies, interfaces, etc. there are many alter-
systems and components have become standard, low cost, 5 native and viable options for power delivery means that can
readily available and highly reliable within industrial auto-       provide adequate electrical power to the rotatable assembly
mation and manufacturing technologies. Many miniature               that may be partially present on the moving (rotating) portion
PLC components now feature sophisticated integrated                 of the system. Batteries, solar panels, rechargeable systems
memory and internal computing power sufficient to integrate         and hardwired systems that employ slip-ring contacts or elec-
many functions such as computing, control, sensing, feed- lO trical commutator and brush assemblies are examples of
back, programming and visual display output on one single           some power delivery means that are well known in the art.
compact rugged electrical device that can be programmed for         Within the preferred embodiment a split high frequency
unique applications. Computer Programmable Logic Devices            transformer 36 is utilized. In this embodiment, the primary
(CPLDs) and Field Programmable Gate Arrays (FPGAs) 15 coil 38, in electrical communication with the vehicle battary,
such as those offered by Xilink and Altera semiconductor            remains fixed to the motor vehicle 10, and the secondary coil
companies, both of San Jose, Calif., can be employed as             40 is integrated into the moving portion of the rotatable
sophisticated multi-input PLC position sensing and control          assembly 24, in this case the vehicle wheel 26. Other options
systems. Similar miniature electronic hardware devices such         may include various parasitic power generators that use micro
as micro-scale radio transmitters like those offered by Analog 20 magnetic assemblies or piezo electric devices to produce
Devices Inc of Norwood, Mass., coupled with miniature               power from mechanical vibrations, harmonics or centrifugal
multi-axis position sensors such as those offered by Honey-         forces (not shown). Further systems could employ a generator
well SSEC of Plymouth, Minn. allow a suitable PLC system            located inside a hub and axle assembly as shown in FIG. 10,
to utilize wireless technologies for the acquisition, processing    or a free spinning generator that uses a counterweight to
and sharing of position sensing data within a rotational dis- 25 stabilize one part of a free spinning generator while the other
play system. Various PLC systems and components provide             part rotates with a rotatable member connected to, or part of
yet another option for reliable rotational display synchroni-       the illuminating assembly (much like a Rolex perpetual watch
zation hardware that are rugged and designed to operate in a        winding mechanism that uses an internal rotatable counter-
variety of physically and electrically demanding environ-           weight to self wind an energy storage spring, but on a larger
ments such as within the wheel of a motor vehicle. Such 30 scale and adapted to generate electric power).
systems and associated sub components are available from               Referring to FIG. 10, an alternative embodiment of the
Omron of Kyoto, Japan and Silicon Laboratories of Austin,           instant invention is illustrated wherein a portion of the motor
Tex.                                                                vehicle's drive-line and/or suspension 30 (FIG. 7) is used to
   The illuminating assembly 18 can have numerous inherent          transfer a magnetic field of a transformer from a fixed part of
variations in size, length and resolution (resolution or defini- 35 the motor vehicle to a secondary transformer coil 28 and
tion is the number of actively switchable or addressable illu-      subsequent power circuit integral to the rotating wheel.
minating elements per unit of area; the higher number indi-         Within this embodiment the vehicle hub assembly, axle,
cates that a higher quality image can be displayed). The            wheel bearings, etc. act as a ferrous core for an electrical
illuminating assembly can also be made from many different          transformer to deliver power to the rotating wheel assembly.
illuminating elements which may include, but should not be 40          Referring to FIGS. 1-11, the specific applications and spe-
limited to: light emitting diodes (LEDs), organic light emit-       cific uses of the rotary display system ultimately determine
ting diodes (OLEDs), electroluminescent strips (ELs), liquid        which variations of many possible system architectures will
crystal displays (LCDs ), thin film transistor liquid crystal       be employed. Likewise, the specific applications desired by
displays (TFTs), plasma displays, small light bulbs or suit-        the user will determine what specific visual images, text,
able combinations thereof, and may be used to form an appro- 45 animations or combinations are to be displayed. Conse-
priate display for predetermined applications. Regardless of        quently, specific details of the user's application will also
the type of light generating instruments or apparatus used,         determine system parameters, such as what colors, bright-
individual elements of the illuminating assembly must be            ness, array size, array quantity, control systems, power sup-
controllable to appropriately illuminate at predetermined           plies should be used to best match the display system design
positions during rotation, thus forming a predetermined 50 to its intended application. For example, as it is an object of
image. Each choice of illuminating element has different            the instant invention to display life-like images on a rotational
characteristics, advantages and disadvantages. LEDs for             display system without bending the horizontal ground plane
example, are bright, efficient and durable, and can be surface      around the axis of the display system, it is necessary to under-
mounted on a thin PC board with supporting electronic sub-          stand the operation of the prior art systems that wrap the
systems, all at a very low cost. A strip of color LCDs, such as 55 horizontal plane around the axis of rotation. Within the prior
the material used on laptop computer screens, boasts very           art images or text to be displayed are scanned or programmed
high resolution and the ability to display life-like portrait       in a linear manner, much like a desktop scanner or photo-
quality pictures while rotating. LCDs derive their active light     copier moves a lighted bar across an image using a flat rect-
emitting elements from the controlled synchronization of            angular surface plane. At each point (pixel or dot) in the plane
individual pixels or groups of pixels that, viewed together, 60 that contains the image or text to be displayed a digital pro-
form an integral (somewhat virtual, software controlled)            cessor assigns the corresponding X and Y coordinates of each
array of illuminating elements. Thus, the general definition of     point converting it into a simple data chain ofX and Y coor-
an illuminating assembly 18 is understood to apply to devices       dinates. Essentially, the image to be displayed has each of its
where light emitting elements 22 are connected and integral at      points graphed like it was to be reproduced on a rectangular,
a high density, miniature, microscopic or molecular level, 65 flat planar sheet of graph paper. The data chain, like a bit map
such as the illuminating elements or combinations of the            image, is then fed into the controller that illuminates the
illuminating elements described above.                              lighted portions of a rotating display.
       Case 6:25-cv-00189-AM                       Document 1-2               Filed 05/07/25             Page 19 of 21


                                                      US 8,284,214 B2
                              11                                                                   12
   Y represents the height position of a point to be displayed      point, assuring that red, blue and green color output all occur
whereas X represents the horizontal position of a point to be       at the same rotational angle. This would create a low cost,
displayed. Therefore, out of all XY coordinate pairs that form      high quality rotational output capable of true color display.
the image, the lowest Y coordinate is assigned to be displayed         If separate red, blue and green illumination sections are
on the illuminating section closest to the axis of rotation and 5 located at different points on a rotational display, output tim-
the highest Y coordinate is assigned to the illuminating sec-       ing for each color must be appropriately shifted to maintain
tion of the display that is closest to the perimeter.               persistence of vision, by properly tricking the human eye into
   The points on the X axis (that each pair with a respective Y     perceiving that all three colors are appearing to produce a
coordinate) are assigned to an arbitrary predetermined start-       seamless, true color image, by originating each of the primary
ing and stopping point that correspond with one 360 degree 10 colors from the same perceived location(s) in synchronous
rotation of the circular display system. In essence, the lowest     timing.
X value is assigned to the degree position where the image             Take, for example, three sets of micro LEDs forming
begins in the rotational sweep and the highest X coordinate is      addressable illumination lines extending from about the axis
assigned to the degree position where the image ends. In            to the perimeter of a rotational display system. The red LED
essence, an XY coordinate system is converted to display Y 15 line is arbitrarily located at the zero degree ( straight up)
coordinates (as illuminated sections) only after the X coordi-      position. The blue is at 10 degrees and the green is at 20
nate set has been converted to represent angular positions on       degrees, respectively, proceeding clockwise around the
a circular system.                                                  circle. Due to the relative positions, the light discharge posi-
   This allows illuminating portions of the display that corre-     tions for each primary color would need to be shifted. In
spond to the Y coordinates to illuminate at the instant that the 20 essence, the green bar would switch it's green segments on t
illuminating display line crosses each point of rotation that       to represent a predetermined portion of an image to be dis-
corresponds to the matching X coordinate.                           played. We can call this arbitrary portion of an image "frame
   Likewise, this simple system easily converts text, images        1". So, the green bar would illuminate appropriate sections
and other visuals to work properly on a rotational display by       correlated to frame 1 at the 20 degree position in the rotation.
reassigning the X coordinate set to appropriate angular posi- 25 However, the blue and red bards would have to wait until they
tions on the circle, while allowing the Y coordinate set to         are passing the 20 degree position to display their luminous
control which sections of the illuminating display are              patterns associated with frame 1. In essence, the red bar
switched on or off, as it rotates past each point X. This also      would require a shift in it's X coordinate set to add 20 degrees
allows for easy positioning and orientation of an image to be       clockwise to it's luminous discharge timing for each frame.
displayed. For example, if a circle had its top most point 30 The blue bar would require a 10 degree forward advance on
defined as zero degrees and its bottom most point defined at        luminous discharge timing. The green would require a zero
180 degrees, assuming that the circular scanning display            degree forward advance, meaning that the green has no shift
apparatus moved in a clockwise direction, one could position        in X coordinates (angular position) for a given frame; or
an image or text on the right half of the circle by defining the    simply put, the green becomes the arbitrary reference point
lowest X value as zero degrees and the highest X value at 180 35 that the other colors are referenced against the coordinate
degrees. If one wished to further compress the text or image        timing.
into the upper right quarter of the circle, one would assign the       In order for any rotational display system, monochromatic
lowest X value to zero degrees and the highest X value to 90        or true color, to display an image acorss the entire circular
degrees.                                                            face of a rotational display apparatus, the X andY coordinates
   This aforementioned example of how a display scrolls 40 that define the image to be displayed in Cartesian terms must
images and text around a circle is exemplary only for a mono-       simply be converted to polar coordinates. In short, any Car-
chromatic system. If such a system were to have true color          tesian XY coordinate is subject to the Pythagorean theorem
display capacities, it would essentially be the exact same          that models any XY coordinate as a triangle to derive the
example, in triplicate with one chain of XY coordinates for         hypotenuse, or the distances from the center of the circle. In
each of the primary colors to be output to a true color capable 45 this case, the hypotenuse for a particular coordinate now
display.                                                            defines the distances from the axis of rotation where a point,
   In essence, the image to be scanned or digitally converted       pixel or LED must illuminate at a predetermined angle to
to binary data would be converted to XY coordinates just as         display a predetermined frame of visual output. The angle
described above, with one XY coordinate set for each color to       correlated to this distance is found by using the tangent func-
be electronically mixed. In essence, the three coordinate data 50 tion, thus indicating the numerical angle that would correlate
sets would be (Xred, Yred); (Xblue, Yblue) and (Xgreen,             the rotational position of the display. With the rotation angle
Y green). Likewise three separate data sets would have to be        and distance form the center known for any set of points that
processed simultaneously in real time, fully synchronized,          combine to define an image, it is possible to display an image
starting and ending at the same time without any relative           or text across the full face of the circle. Likewise, any such
processing delays between the red, blue or green data sets. 55 image to be displayed should have it's coordinate sets elec-
   Consequently, the hardware would have to support tripli-         tronically stored in polar form.
cate electronic processing of each set and the rotational dis-         It is also important to note that software or hardware used
play system would also require tri-color separately address-        to convert a Cartesian image to an identical image using polar
able illumination sections to visually output the data.             coordinates should employ software or interfacing to prop-
Although the electronic hardware and software is readily 60 erly center the zero point of the Cartesian system across the
available to accomplish this, no such devices have yet been         approximate center of the image before polar conversion.
created. In application, it would be ideal to utilize micro sized   Failure to do this, depending on the specifics of the software
tri-color LEDs due to their fast switching times, nearly instan-    developed for the rotational display, may cause an image to
taneous luminous rise and fall times, high brightness, high         display off center as a result of positive integer values for any
efficiency and point-source geometry. Likewise, one slim 65 Cartesian XY coordinate set being converted to indicate a
rotating line of such tiny, tri-color high brightness LEDs          polar coordinate image in only one quadrant of a circle.
would effectively mix the primary colors at the same visual         Likewise, both hardware and software interfaces should have
       Case 6:25-cv-00189-AM                       Document 1-2               Filed 05/07/25              Page 20 of 21


                                                      US 8,284,214 B2
                              13                                                                   14
proper calibration features to properly center, tilt and prop-      require software such as a plug and play style driver that
erly adjust any displayed images.                                   identifies the wheel size, illuminating assembly positions,
   Consequently, the process by which to convert digital            illuminating element colors and multi-axis illuminating
images, text and full motion video to polar coordination for        assembly angles to the control system in the vehicle to allow
full face rotational display is not difficult. It does however 5 proper display synchronization to produce clear and properly
require more computer prograrmning, and subsequently more           positioned images. Likewise, a multitude of software pro-
memory that an equivalent image that is displayed in wrap           grams would provide a high degree of variety in selecting
around mode as opposed to full face display mode. In addi-          both functional and ornamental images for the vehicle
tion, this mode is also capable of full color display if the same   wheels.
conversion and data processes are used for three primary 10            Since a traditional motor vehicle wheel or rim will not
colors, as described prior to be output to a capable full color     display an image while it is rotating, this is a limitation of the
rotational display device.                                          disclosed invention. However, if one embodiment of the dis-
   For example, a police vehicle 10 (FIG. 11) or ambulance          closed system utilizes the rims as directional signals, or haz-
may use the rotational display 12 to say "police" in a forward      ard flashers, on board hardware or software could allow all
and/or side direction or to serve as extra emergency flashers. 15 appropriately colored LEDs to illuminate or flash appropri-
A large truck can display a "wide load" image on the wheel          ately while the wheel is stopped, thus allowing an observer to
display.                                                            see proper directional signals or hazard flashers disposed on
   A passenger car or truck can use the display as a system of      the wheel. The stopped wheel would not be able to display a
virtual brake lights, directional signals, extra headlights, haz-   graphic while stopped (such as a picture of a flashing yellow
ard flashers, etc. via a connection to the vehicle electric sys- 20 arrow indicating a directional signal). However, a wheel-at-
tern. Such a system would use the vehicle's electric system to      stop default sequence could take advantage of all appropri-
initiate the display of a flashing arrow image on the right         ately colored LEDs while the wheel is stopped by using them
wheels when the driver activates the right tum signal.              for directionals or hazard lights.
   FIGS. 3 and 11 show unique shaped rotational display                One alternative embodiment of the instant invention uti-
systems that have illuminating element assemblies shaped to 25 lizes motor vehicle wheels which include "Spinners." Spin-
allow virtual brake-lights that only shine backward from the        ners is a slang term for freewheel rotating ornaments that are
rear wheels, virtual headlights that only shine forward, and        added to vehicle rims such as those disclosed in U.S. Pat. Nos.
directional signals that are viewable from many angles.             5,290,094 and 6,663,187 the contents of which are incorpo-
   All aspects of the above described rotational display sys-       rated herein in their entirety. These ornaments are typically
tem can be manufactured with infinite variety. At the least 30 placed on custom luxury cars and SUVs. They allow a portion
expensive end of the spectrum of product offerings, an after-       of the vehicle wheel to continue turning while the car is
market stick-on LED strip pre-programmed with a graphic or          temporarily stopped or slowed. A combination which
ornamental design can be applied to a wheel with no user            includes spinners with the instant invention leads to a natu-
interface needed. An inexpensive stick-on thin PC board type        rally advantageous combination. This would allow the con-
car novelty could provide quick installation at low cost. A 35 tinuous use of rotational display system for videos or graphics
product one step higher may have a single color or multicolor       such as logos, ornaments, directional signals, brake lights,
aftermarket LED display strip that can be attached to the           virtual headlights, etc.---even while the vehicle is stopped.
wheel, with an inexpensive battery powered human interface             As a variation of the above embodiment, the spinners may
(like a small "credit card" sized remote control, similar to        further include activatable electric motors to rotate a portion
remotes included with aftermarket car stereos, located in the 40 of the rims while the car is stopped for extended periods of
car) to select between a few pre-programmed graphics. More          time, thus allowing the rotational image display to run con-
expensive models would progressively incorporate more               stantly for display purposes such as a car show. Embedded
sophisticated controllers with more advanced connectivity to        software, related electrical power transmission hardware and
external software image sources. Likewise, more expensive           data transmission hardware connected to the wheel display
systems would likely incorporate brighter, higher resolution 45 system can be used to monitor motor speed through the rota-
LED displays with more substantial power delivery and data          tional displays' position sensor(s) and synchronization cir-
delivery systems at and around the vehicle wheel assemblies.        cuit( s). Motor speed or power can be adjusted or turned on/off
The best quality systems would support true-color capability        via the controller in the vehicle. Synchronization circuits
or at least highly synchronized multi-color capabilities to         could monitor the differential rotational velocities between
display a variety of images in life like color or near life like 50 the rotating wheel ornament and the vehicle wheel thus
color. The most versatile variations of the product would have      adjusting motor speed to maintain full visual display capa-
multiple illuminating assemblies and LED clusters at various        bilities throughout a range of vehicle speeds under predeter-
positions on the wheel at one or more angles, and more              mined conditions.
complex software to support their proper light discharge tim-          As a further variation of the above embodiment, a hub-less
ing. As shown in the drawings, the LED arrays (or any light 55 spinner connected to the outer perimeter or thereabout of the
producing arrays or clusters thereof) can be contoured and          wheel could be utilized. These spinners would be lighter in
positioned to project light from the rims in many specific          weight and less expensive than the present bulky ones. This
orientations. Light projecting toward the front of the vehicle      embodiment could provide an option for sports car/high per-
can be made into a virtual supplemental headlight, fog light,       formance enthusiasts who do not desire traditional heavy
driving light or other street legal form of forward illumina- 60 spinners. However, a thin spinner "ring" with a few LED
tion. The same arrays that pass rearward facing directions as       clusters or a continuous circle LED array disposed around the
the wheels rotate can be turned into virtual brake lights. The      ring would give a driver the ability to have wheel mounted
combination of various wheel mounted arrays and light clus-         virtual driving lights, brake lights, directional signals and
ters can be used as highly visible street legal directional         hazard flashers ... but without the complexity of a larger
signals with the use of standard DOT approved amber color. 65 spinner or a more complex wheel display system. This could
Likewise, sophisticated displays that utilize multiple illumi-      be simple and utilitarian without the extra hardware or inter-
nation assemblies, or ones directed at various angles may           faces for uploading images. This would be more for the sports
       Case 6:25-cv-00189-AM                      Document 1-2                Filed 05/07/25             Page 21 of 21


                                                      US 8,284,214 B2
                              15                                                                   16
car enthusiast who wants the virtual signals/brakes/head-                3. The rotational display system of claim 1 wherein said
lights to work while the car is stopped.                              controller being constructed and arranged to control illumi-
   All patents and publications mentioned in this specification       nation of said at least one illuminating element.
are indicative of the levels of those skilled in the art to which        4. The rotational display system of claim 3 wherein said
the invention pertains. All patents and publications are herein 5 illuminating assembly including a plurality of illuminating
incorporated by reference to the same extent as if each indi-         elements, wherein each of said illuminating elements are
vidual publication was specifically and individually indicated        individually controllable for illumination by said controller.
to be incorporated by reference.                                         5. The rotational display system of claim 4 wherein said
   It is to be understood that while a certain form of the            illuminating assembly including illuminating elements
invention is illustrated, it is not to be limited to the specific 10 which include three primary colors red, green and blue,
form or arrangement herein described and shown. It will be            wherein said illuminating assembly is constructed and
apparent to those skilled in the art that various changes may         arranged to display true color.
be made without departing from the scope of the invention                6. The rotational display system of claim 4 wherein said
and the invention is not to be considered limited to what is          illuminating elements extending across said axis of rotation,
shown and described in the specification and any drawings/ 15 whereby a displayed image can extend across said axis of
figures included herein.                                              rotation.
   One skilled in the art will readily appreciate that the present       7. The rotational display system of claim 4 wherein said
invention is well adapted to carry out the objectives and             plurality of illuminating elements are selected from the group
obtain the ends and advantages mentioned, as well as those            consisting of light emitting diodes, organic light emitting
inherent therein. The embodiments, methods, procedures and 20 diodes, electroluminescent strips, liquid crystal displays, thin
techniques described herein are presently representative of           film transistor liquid crystal displays, plasma displays, and
the preferred embodiments, are intended to be exemplary and           small light bulbs.
are not intended as limitations on the scope. Changes therein            8. The rotational display system of claim 3 wherein said
and other uses will occur to those skilled in the art which are       rotatable assembly including multiple illuminating assem-
encompassed within the spirit of the invention and are defined 25 blies that share a common axis of rotation, wherein each of
by the scope of the appended claims. Although the invention           said illuminating assemblies being positioned at different
has been described in connection with specific preferred              angles with respect to said axis of rotation, wherein said
embodiments, it should be understood that the invention as            controller is constructed and arranged to synchronize images
claimed should not be unduly limited to such specific                 generated by said illuminating assembly in a predetermined
embodiments. Indeed, various modifications of the described 30 sequence to provide a three dimensional image.
modes for carrying out the invention which are obvious to                9. The rotational display system of claim 3 wherein there
those skilled in the art are intended to be within the scope of       being a plurality of said illuminating elements and said con-
the following claims.                                                 troller including circuitry constructed and arranged to syn-
   What is claimed is:                                                chronously illuminate the illuminating elements.
   1. A rotational display system including:                       35    10. The rotational display system of claim 3 including a
   a computer for storage and recall of data representing at          means of synchronization and wherein said means for syn-
      least one visual image;                                         chronization is constructed and arranged to determine the
   a controller in wireless communication with the computer           relative position of said illuminating assembly with respect to
      and operable to receive at least some of said data;             a fixed position during rotation thereof.
   a rotatable assembly for displaying an image represented 40           11. The rotational display system of claim 10 wherein said
      by at least a portion of the data transferred from said         means of synchronization being selected from the group con-
      computer to the controller, said rotatable assembly             sisting of gyroscopes, magnetic sensors, Hall Effect sensors,
      including an illuminating assembly, said illuminating           lasers, infrared devices, radio-frequency devices, optical/re-
      assembly being operably connected to said controller,           flective tachometers, laser tachometers, mechanical position
      said illuminating assembly including at least one illumi- 45 (rotary) encoders, accelerometers, displacement sensors and
      nating element, said rotatable assembly being con-              electromagnetic sensors.
      structed and arranged for attachment to a support for              12. The rotational display system of claim 1 wherein said
      rotation about an axis;                                         rotatable assembly being constructed and arranged to display
   a power delivery means for providing power to said rotat-          planar images.
      able assembly; and                                           50    13. The rotational display system of claim 1 wherein said
   an image represented by said data transferred from said            rotatable assembly being constructed and arranged to display
      computer to the controller displayed by said rotatable          cylindrical images.
      assembly during rotation of said rotatable assembly, said          14. The rotational display system of claim 1 wherein said
      image displayed without bending the horizontal ground           rotatable assembly being constructed and arranged to display
      plane around said axis.                                      55 three dimensional images.
   2. The rotational display system of claim 1 wherein said              15. The rotational display system of claim 1 wherein said
computer including software constructed and arranged to               rotational display system being constructed and arranged to
allow an operator to import, manipulate, store and selectively        display streaming video.
display an image of an operator's choice with the illuminating
assembly.                                                                                     * * * * *
